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                       9
                  10                         UNITED STATES DISTRICT COURT
                  11                        CENTRAL DISTRICT OF CALIFORNIA
                  12
                  13       REPRESENTATIVE MATT GAETZ,           CASE NO. 5:23-cv-01368-HDV-SHK
                           et al.,
                  14                                            DEFENDANT NATIONAL
                                         Plaintiffs,            ASSOCIATION FOR THE
                  15                                            ADVANCEMENT OF COLORED
                                v.                              PEOPLE’S NOTICE OF MOTION
                  16                                            AND MOTION FOR ATTORNEY’S
                           CITY OF RIVERSIDE, et al.,           FEES AND COSTS
                  17
                                         Defendants.            Date:      February 6, 2025
                  18                                            Time:      10:00 a.m.
                                                                Place:     Courtroom 5B, 5th Floor
                  19                                            Judge:     Hon. Hernán D. Vera
                  20                                            FAC Filed: October 2, 2023
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                       1 TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                       2         PLEASE TAKE NOTICE that on February 6, 2025, at 10:00 a.m., or as
                       3 soon thereafter as this matter may be heard, in Courtroom 5C of the United States
                       4 District Court for the Central District of California, located at 350 West First
                       5 Street, Los Angeles, California, before the Honorable Hernán D. Vera, pursuant to
                       6 Federal Rule of Civil Procedure 54(d), Local Civil Rule 54, and Section 1717 of
                       7 the California Civil Code, defendant National Association for the Advancement of
                       8 Colored People (“NAACP”) will and hereby does respectfully move this Court for
                       9 an order granting the NAACP’s Motion for Attorney’s Fees and Costs and
                  10 awarding judgment of fees and costs in favor of the NAACP and against Plaintiffs
                  11 Matt Gaetz and Marjorie Taylor-Greene in the amount of $184,489.55.
                  12             The Motion is based upon this Notice of Motion; the concurrently filed
                  13 Memorandum of Points and Authorities; the Declaration of Laura R. Washington
                  14 and the exhibits attached thereto; the pleadings and records on file in this action;
                  15 and any further evidence or argument received by the Court in connection with the
                  16 Motion.
                  17             This motion is made following the conference of counsel pursuant to L.R. 7-
                  18 3, which took place on November 12, 2024.
                  19 Dated: November 20, 2024                        LATHAM & WATKINS LLP
                  20
                  21
                                                                     By /s/ Laura R. Washington
                  22                                                   Laura R. Washington
                  23
                                                                         Attorneys for Defendant National
                  24                                                     Association for the Advancement of
                                                                         Colored People
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                       1               MEMORANDUM OF POINTS AND AUTHORITIES
                       2 I.      INTRODUCTION.
                       3         The National Association for the Advancement of Colored People
                       4 (“NAACP”) does not bring this motion lightly. But Plaintiffs Matt Gaetz and
                       5 Marjorie Taylor-Greene have forced the NAACP’s hand by bringing an
                       6 “unprecedented and stunningly deficient pleading—haling nine civil rights groups
                       7 into federal court for speaking out against an event” that “shock[s] in equal
                       8 measure civic members from across the political spectrum.” (ECF No. 95 at 3.) In
                       9 short, the poorly conceived lawsuit filed against the NAACP is the definition of the
                  10 word “frivolous.” The NAACP is a non-profit organization that depends heavily
                  11 upon grants and donations. Having been forced to expend its limited funds to
                  12 defend against Plaintiffs’ frivolous action, the NAACP brings this motion to
                  13 recover reasonable attorney’s fees.
                  14             As this Court emphatically found in granting the NAACP’s motion to
                  15 dismiss, Plaintiffs’ claims, “both legally and literally,” were based on “a
                  16 conspiracy theory that relie[d] purely on conjecture.” (Id.) Plaintiffs’ claims
                  17 “suffer[ed] from numerous fatal deficiencies.” (Id. at 2-3.) They were “utterly
                  18 devoid of any specifics.” (Id. at 3.) They had no other purpose but to “settle
                  19 political scores.” (Id. at 3-4.) In fact, Plaintiffs’ allegations against NAACP
                  20 contradicted any plausible inference of a conspiracy. While Plaintiffs alleged a
                  21 conspiracy by the Non-profit Defendants to prevent Plaintiffs’ political rally from
                  22 happening, Plaintiffs alleged at the same time that the NAACP encouraged its
                  23 supporters to register for that same rally. (FAC ¶ 37.) As this Court correctly
                  24 found, taking Plaintiffs allegations as true, the NAACP’s actions were thus “the
                  25 exact opposite” from the alleged conspiracy. (ECF No. 95 n.12.) Indeed, “the
                  26 NAACP’s supposed plan would be thwarted by the overall conspiracy, given that
                  27 their goal was predicated on the event actually happening.” (Id. (emphasis in
                  28 original).)
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                       1         Presumably to grab attention, Plaintiffs chose the Ku Klux Klan (“KKK”)
                       2 Act as their legal vehicle to sue the NAACP, the oldest and largest civil rights
                       3 organization in the country. The KKK Act was enacted by Congress in response to
                       4 white supremacists actively attempting to undermine Reconstruction by
                       5 threatening the lives of African Americans and preventing them from enjoying the
                       6 rights guaranteed by the Constitution. The NAACP was founded to continue to
                       7 carry out the intent behind the KKK Act, i.e., to democratically secure for all
                       8 people the rights guaranteed in the 13th, 14th, and 15th Amendments. For
                       9 Plaintiffs to now use this statute to go after the NAACP is a profane act “eerily
                  10 reminiscent” of Justice White’s warning that the statute may be improperly used
                  11 against others for “exercis[ing] their own First Amendment Rights.” (See id. at 3.)
                  12 Should Plaintiffs walk free from their hateful attack, nothing stands in the way for
                  13 others to similarly abuse the KKK Act and the privilege of access to the courts. As
                  14 the victim of the perverse action by Plaintiffs, the NAACP asks only that this Court
                  15 return the non-profit to its pre-lawsuit financial status quo so it can continue its
                  16 fight for civil rights.
                  17 II.         BACKGROUND.
                  18             Plaintiffs initiated this action against the NAACP and eight other non-profit
                  19 organizations (the “Non-profit Defendants”) on July 13, 2023. (ECF No. 1.)
                  20 Plaintiffs filed an amended complaint on October 2, 2023. (ECF No. 29.) Since
                  21 being served with the initial complaint, the NAACP retained the law firm of
                  22 Latham & Watkins LLP (“Latham”) to aggressively defend against Plaintiffs’
                  23 shocking and absurd allegations. (Declaration of Laura R. Washington
                  24 “Washington Decl.” ¶ 2.)
                  25             Plaintiffs allege that in July 2021, Florida Congressman Matt Gaetz and
                  26 Georgia Congresswoman Marjorie Taylor-Greene, along with their respective
                  27 campaign committees and joint fundraising committee, sought to hold a rally in
                  28 Southern California. After non-defendant Pacific Hills Banquet and Catering, a
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                       1 venue in Laguna Hills, California, cancelled their event, Plaintiffs entered into a
                       2 contract with Raincross Hospitality Management Corp., which manages the
                       3 Riverside Convention Center. (FAC ¶ 12, 25–27.) Allegedly following pressure
                       4 from the public and “third party defendants,” Raincross cancelled the event,
                       5 pretextually citing a deficiency in Plaintiffs’ certificate of insurance for the event.
                       6 (Id. ¶ 29–30.) Plaintiffs then entered into a contract with The Grand Theater, a
                       7 private venue in Anaheim, California. (Id. ¶ 39.) Allegedly following threats from
                       8 a code enforcement officer for the City of Anaheim, The Grand Theater likewise
                       9 cancelled the event. (Id. ¶ 41–47.) Unable to find another location, Plaintiffs
                  10 instead held a “small protest” outside Riverside City Hall. (Id. ¶ 48.)
                  11             Plaintiffs relied entirely on conclusory allegations in a weak attempt to
                  12 somehow connect the NAACP to the cancellation of these events. For example,
                  13 Plaintiffs made a series of conclusory allegations that the NAACP along with other
                  14 “third party defendants” conspired with and pressured the government defendants
                  15 to cancel Plaintiffs’ events. In the entirety of their 29-page FAC, Plaintiffs set
                  16 forth just one non-conclusory allegation regarding the NAACP. They claim that
                  17 the NAACP, through a never-identified person or persons and through unspecified
                  18 means, encouraged the organization’s supporters to “register for tickets to the Put
                  19 America First rally with no intention of attending, in order to prevent others from
                  20 attending and to depress attendance.” (FAC ¶ 16.) On the basis of this single
                  21 vague allegation, Plaintiffs alleged two baseless claims on behalf of themselves
                  22 and their prospective audience members against the NAACP alleging a conspiracy
                  23 to deny civil rights in violation of the KKK Act, 42 U.S.C. § 1985(3). On October
                  24 19, 2023, the NAACP moved to dismiss Plaintiffs’ FAC. (ECF No. 34.) On
                  25 March 22, 2024, the Court granted the NAACP’s motion and dismissed, with
                  26 prejudice, Plaintiffs’ claims against all the Non-profit Defendants. (ECF No. 95.)
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                       1 III.    NAACP IS ENTITLED TO REASONABLE ATTORNEY’S FEES.
                       2         As the political target of a Section 1985 lawsuit that was wholly devoid of
                       3 any legal or factual merit, the NAACP is entitled to reasonable attorney’s fees.
                       4 “42 U.S.C. § 1988 permits the defendant of an action brought under 42 U.S.C. §
                       5 1985 to recover attorney’s fees if the District Court finds that the plaintiff’s action
                       6 was frivolous, unreasonable, or without foundation, even though not brought in
                       7 subjective bad faith.” Mitford v. Marsh, 1992 WL 205696, at *2 (9th Cir. Aug. 25,
                       8 1992) (quoting Hughes v. Rowe, 449 U.S. 5, 14 (1980) (cleaned up)); see also Fox
                       9 v. Vice, 563 U.S. 826, 833 (2011). An action is “without foundation” where a
                  10 plaintiff makes “scandalous accusation[s] . . . without any factual or legal basis.”
                  11 Mitford, 1992 WL 205696, at *2-3.
                  12             As the Court found in its Order granting the Non-profit Defendants’ motions
                  13 to dismiss, such is the case here. Granting the NAACP’s motion is consistent with
                  14 other frivolous Section 1985 lawsuits filed in this Circuit and elsewhere. See, e.g.,
                  15 Mitford, 1992 WL 205696, at *2-3 (awarding attorney’s fees and doubling costs
                  16 where plaintiff alleged, “without any factual or legal basis,” that defendant
                  17 conspired with the Alaska State court system by ruling in defendant’s favor);
                  18 Munson v. Friske, 754 F.2d 683, 697 (7th Cir. 1985) (awarding attorney’s fees
                  19 where “plaintiff had used the judicial system to carry on a personal vendetta”);
                  20 Offord v. Parker, 2010 WL 11646791, at *2 (S.D. Tex. Nov. 18, 2010)
                  21 (“agree[ing] that the absence of any facts supporting the existence of a conspiracy
                  22 is sufficient to support a finding that plaintiffs’ claims regarding the Second
                  23 Transaction were frivolous” as to warrant attorney’s fees). As the Ninth Circuit
                  24 has held, even the existence of non-frivolous claims in an action does not preclude
                  25 the award of attorney’s fees and costs for frivolous claims in the same action. See
                  26 Tutor-Saliba Corp. v. City of Hailey, 452 F.3d 1055, 1062-64 (9th Cir. 2006)
                  27 (awarding fees where plaintiff’s claims were factually frivolous in Section 1983
                  28 case); see also Ammari v. City of Norwalk, 2023 WL 8696334, at *4 (C.D. Cal.
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                       1 Sept. 28, 2023) (awarding fees where plaintiff admitted “the evidence to establish
                       2 the facts necessary to support [Plaintiffs’] claims was not available and could not
                       3 be obtained” in Section 1983 case).
                       4         A.    Plaintiffs’ Conspiracy And Animus Allegations Were Utterly
                       5               Deficient And Contradictory.
                       6         Despite having the benefit of an amended complaint, Plaintiffs’ FAC never
                       7 stood a chance at asserting a plausible claim against the NAACP. Plaintiffs’ FAC
                       8 suffered from numerous deficiencies (as laid out in full in the NAACP’s and the
                       9 Non-profit Defendants’ motions to dismiss), but their most critical was the failure
                  10 to allege any non-conclusory allegations of conspiracy and animus required for
                  11 their Section 1985(3) claims. Mitford, 1992 WL 205696, at *2-3 (awarding
                  12 attorney’s fees where Plaintiffs failed to allege any facts to plausibly allege a
                  13 conspiracy). In fact, as the Court found, not only were Plaintiffs’ allegations
                  14 lacking in factual and legal merit, they contradicted Plaintiffs’ own causes of
                  15 action. (See ECF No. 95 at 17 n.12.) Thus, Plaintiffs had no reasonable basis to
                  16 believe that the NAACP was involved in the conspiracy they alleged. This should,
                  17 have, but obviously did not, prevent Plaintiffs from suing the NAACP and forcing
                  18 it to incur legal fees.
                  19                   1.    Plaintiffs’ conspiracy allegations were without foundation.
                  20             Neither of Plaintiffs’ claims under Section 1985(3) could proceed unless
                  21 Plaintiffs “plausibly alleged a conspiracy.” (ECF No. 95 at 14.) To plausibly
                  22 allege a conspiracy under Section 1985(3), Plaintiffs had to plead enough facts
                  23 from which one may infer an agreement between the NAACP and others to deny
                  24 Plaintiffs’ constitutional rights. See Karim-Panahi v. L.A. Police Dep’t, 839 F.2d
                  25 621, 626 (9th Cir. 1988) (“A claim under this section must allege facts to support
                  26 the allegation that defendants conspired together.”); (ECF No. 95 at 14 (“‘[a] mere
                  27 allegation of conspiracy without factual specificity is insufficient’ for § 1985(3)
                  28 liability”) (citing id.).)
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                       1         As the Court found, “even accepting as true all of Plaintiffs’ assertions in the
                       2 FAC, there simply are no specific factual allegations of a plausible conspiracy
                       3 between Defendants. None.” (ECF No. 95 at 14-15 (emphasis added).) After
                       4 reading past Plaintiffs’ conclusory allegations, “what is notably missing in the
                       5 FAC are plausible allegations—with specific facts—that there was a ‘meeting of
                       6 the minds’ or an ‘agreement’ between the Nonprofit Defendants and the
                       7 governmental entities.” (Id. at 15.) Plaintiffs argued that a conspiracy was
                       8 evidenced by Defendants’ shared common objective to “impede Plaintiffs and
                       9 attendees from exercising their First Amendment rights” at the rally and by the
                  10 “strikingly similar character and substance of the threats [Defendants] made.” (Id.
                  11 at 16 (citing Opp. at 8-10).) But as the Court held, “that is legally insufficient,”
                  12 and all that is left is “independent parallel behavior” which does not suffice to state
                  13 a Section 1985 claim. (Id.)
                  14             Not only were Plaintiffs’ assertions in the FAC devoid of any supporting
                  15 factual allegations, they were also at odds with the claims at issue. As the Court
                  16 noted, “[t]he emptiness of Plaintiffs’ conspiracy allegation is further highlighted
                  17 by two allegations against Defendants NAACP and LULAC.” (Id. at 17 n.12
                  18 (emphasis added).) On the one hand, Plaintiffs alleged that LULAC threatened a
                  19 boycott of the Riverside Convention Center if the rally went forward. (Id. (citing
                  20 FAC ¶ 36).) On the other hand, Plaintiffs alleged that the NAACP encouraged
                  21 people to register for Plaintiffs’ rally to deprive Plaintiffs’ supporters from
                  22 securing tickets. (Id. (citing FAC ¶ 37).) Taking Plaintiffs’ allegations as true,
                  23 “the NAACP’s supposed plan would be thwarted by the overall conspiracy, given
                  24 that their goal was predicated on the event actually happening.” (Id. (emphasis in
                  25 original).)
                  26             Plaintiffs’ conspiracy allegations under the Support-or-Advocacy clause
                  27 were all the more frivolous. To plausibly state a claim under this clause, Plaintiffs
                  28 had to additionally allege that the conspiracy’s purpose was to force, intimidate, or
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                       1 threaten an individual legally entitled to vote who is engaging in lawful activity
                       2 related to voting in federal elections. See, e.g., Nat’l Coalition on Black Civic
                       3 Participation v. Wohl, 498 F. Supp. 3d 457, 486–87 (S.D.N.Y. 2020). Here, there
                       4 was no threat or intimidation. As this Court noted, Plaintiffs “fail[ed] to allege that
                       5 any specific voter was intimidated from providing their support or advocacy to
                       6 Plaintiffs’ reelection campaigns, nor did they allege facts that show how a
                       7 reasonable voter could be intimidated.” (ECF No. 95 at 20-21 (emphasis in
                       8 original).) As opposed to all the line of cases alleging intimidation and threats
                       9 “directly targeted at voters,” Plaintiffs alleged the opposite against the NAACP,
                  10 i.e., a “reserve and no-show scheme.” (Opp. at 9-10.) Plaintiffs failed to allege
                  11 “even one example” of the requisite intimidation, and the FAC “completely
                  12 fail[ed] to allege any conduct that could be, even plausibly, construed as
                  13 intimidation of a voter.” (ECF No. at 21.) Plaintiffs’ action was instead a profane
                  14 attempt to twist the KKK Act so as to attack non-profit organizations committed to
                  15 advancing equality. (See id. (“‘Viewed in the light of its origin as a reaction
                  16 against the ‘murders, whippings, and beatings committed by rogues in white sheets
                  17 in the postbellum South,’ [Section 1985(3) of] the Ku Klux Klan Act obviously
                  18 meant to its framers, when it spoke of ‘force, intimidation, or threat’ something
                  19 much more serious and terrifying” than tweets and public statements.”).) Because
                  20 Plaintiffs’ conspiracy claim was so flawed in merit, the NAACP is entitled to
                  21 recover attorney’s fees.
                  22                   2.     Plaintiffs’ animus allegations were without foundation.
                  23             Plaintiffs’ animus allegations—required for their equal protection clause
                  24 claim—suffered from the same, hollow emptiness. To allege a claim under the
                  25 equal protection clause of Section 1985(3), Plaintiffs had to plausibly allege that
                  26 they were members of a qualifying protected class discriminated against on that
                  27 basis. Manistee Town Ctr. v. City of Glendale, 227 F.3d 1090, 1095 (9th Cir.
                  28 2000). But, as with their conspiracy theories, Plaintiffs resorted to various
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                       1 “shifting theor[ies]” of class discrimination that led nowhere. (ECF No. 95 at 19.)
                       2 Plaintiffs first argued that the required animus came from Defendants “accusing
                       3 Plaintiffs of racial intolerance.” (Id. at 18 (citing FAC ¶ 85).) Then, in opposition,
                       4 Plaintiffs suggested that they were discriminated against as white people. (Opp. at
                       5 24-26.) Finally, at oral argument, Plaintiffs argued that Defendants’ animus was
                       6 directed at Plaintiffs’ supporters, who included racial minorities. (ECF No. 90.)
                       7 Even accepting their moving goal posts, the Court still found that Plaintiffs’ FAC
                       8 “serves cold a thin gruel of conclusions.” (ECF No. 95 at 19.) As the Court
                       9 emphatically (and rightly) held:
                  10             There is no racial animus plausibly alleged here. The alleged
                  11             discrimination begins and ends with one word: politics. Plaintiffs may
                                 disavow it, but nothing more is behind their Section 1985(3) claim, and
                  12             to date neither the Ninth Circuit nor the Supreme Court has held that
                  13             the Ku Klux Klan Act has been broadened to cover political party as a
                                 protected class.
                  14
                          (Id.) The only animus from Plaintiffs’ complaint is that of Plaintiffs themselves,
                  15
                          who chose to use this Court in their “misguided effort to settle political scores
                  16
                          against these civic organizations.” (Id. at 3-4.) Plaintiffs’ vindictive motive in
                  17
                          bringing this action is in and of itself sufficient to warrant attorney’s fees. See
                  18
                          Munson, 754 F.2d at 697 (awarding attorney’s fees where “plaintiff had used the
                  19
                          judicial system to carry on a personal vendetta”).
                  20
                          IV.    NAACP’S ATTORNEY’S FEES ARE REASONABLE.
                  21
                                 The fees the NAACP incurred to defend against this action are reasonable.
                  22
                          When determining if fees are reasonable, courts routinely undertake a two-step
                  23
                          analysis: First, it calculates the “lodestar” amount by multiplying the number of
                  24
                          hours reasonably expended on the litigation by “a reasonable hourly rate.” Caudle
                  25
                          v. Bristow Optical Co., 224 F.3d 1014, 1028 (9th Cir. 2000). Second, it considers
                  26
                          whether the lodestar amount is reasonable based on “evidence of reasonableness
                  27
                          submitted by the moving party” and “its own general knowledge and experience.”
                  28
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                       1 Tate v. Matteo, 2019 WL 7878592, at *11-12 (N.D. Cal. Aug. 9, 2019) (citing
                       2 PLCM Grp. v. Drexler, 22 Cal. 4th 1084, 1096 (2000) and Syers Properties III,
                       3 Inc. v. Rankin, 226 Cal. App. 4th 691, 700 (2014)). The moving party must
                       4 substantiate both its hours worked and rates claimed, as well as the reasonableness
                       5 of the fees. Tate, 2019 WL 7878592, at *11-12. The Court may rely on an
                       6 attorney declaration and accompanying exhibits as evidence as to the time and
                       7 work they have done. Id.
                       8        A.     The fees sought are consistent with market rates.
                       9        The “reasonable hourly rate is that prevailing in the community for similar
                  10 work.” PLCM Grp., 22 Cal. 4th at 1095. “[I]n assessing a reasonable hourly rate,
                  11 the trial court is allowed to consider the attorney’s skill as reflected in the quality
                  12 of the work, as well as the attorney’s reputation and status.” See MBNA Am. Bank,
                  13 N.A. v. Gorman, 147 Cal. App. 4th Supp. 1, 13 (2006). “‘[A] more skillful and
                  14 experienced attorney will command a higher hourly rate.’” Roth Grading, Inc. v.
                  15 Martin Bros. Constr., 562 F.Supp.3d 1094, 1102 (E.D. Cal. 2022) (quoting
                  16 Ketchum v. Moses, 24 Cal. 4th 1122, 1138-39 (2001)).
                  17            Since the filing of Plaintiffs’ initial complaint on July 13, 2023, the NAACP
                  18 has been exclusively represented in this litigation by Latham. (Washington Decl. ¶
                  19 1.) Latham is nationally ranked as an “Elite” firm in the area of Commercial
                  20 Litigation.1 The NAACP recognized from the beginning that it would need to
                  21 defend aggressively against Plaintiffs’ claims—though frivolous as they were—by
                  22 retaining elite representation to defend the NAACP’s First Amendment rights to
                  23 allow the NAACP to continue its mission to advance civil rights.
                  24            Latham’s team has been lean throughout this case, and has consisted
                  25 primarily of one partner and two associates. Lead partner Laura Washington is a
                  26 nationally renowned litigator, with 15 years of experience. (Washington Decl. ¶¶
                  27
                      Chambers & Partners, “Department Profile: Litigation, Latham & Watkins LLP”,
                           1

                  28 available at https://chambers.com/department/latham-watkins-llp-litigation-
                     general-commercial-the-elite-usa-5:1451:12059:1:3689.
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                       1 4-5.) Ms. Washington is a partner in Latham’s Litigation & Trial Department and
                       2 the current Global Vice-Chair of Latham’s Complex Commercial Litigation
                       3 Practice Group. (Id. ¶ 4.) Among other accolades, Ms. Washington was named a
                       4 Client Service All-Star by BTI Consulting Group in 2022 and 2023, and a “Next
                       5 Generation Partner – Dispute Resolution: General Commercial Disputes” by The
                       6 Legal 500 in 2023. (Id. ¶ 5.)
                       7        Latham’s team has included just two associates at any given time, beginning
                       8 with commercial litigators Helen Klein and Danielle Roybal. (Id. ¶¶ 3, 6-8.) Ms.
                       9 Klein has seven years of litigation experience, having previously served as a
                  10 judicial law clerk in in the Southern District of Florida and the Eleventh Circuit
                  11 Court of Appeals, and as Deputy Associate Counsel for the White House.2 (Id. ¶ 7;
                  12 id. Ex. 2.) Ms. Roybal, a Harvard University and Stanford Law School graduate,
                  13 has two years of litigation experience. (Id. ¶ 8; id. Ex. 4.)
                  14            The rates of all members of the Latham team are set out in Exhibits 6-7
                  15 attached to the accompanying Declaration of Laura R. Washington. (Id. ¶ 10.)
                  16 These rates are commensurate with market rates in Los Angeles; Wolters Kluwer’s
                  17 2023 Real Rate Report revealed an average hourly rate of approximately $1,393
                  18 for partners and $1,050 for associates in Commercial Litigation at Los Angeles-
                  19 based law firms with more than 1,000 lawyers, such as Latham. (Id. Ex. 5 at 168.)
                  20            B.     The lodestar amount is reasonable.
                  21            “Prevailing counsel are entitled to compensation for all hours reasonably
                  22 spent unless special circumstances would render the award unjust.” MBNA Am.
                  23 Bank, 147 Cal. App. 4th Supp. at 12. “Time is compensable if it was reasonably
                  24 expended and is the type of work that would be billed to a client.” Id.
                  25            Pursuant to Section X.F of this Court’s Standing Order on Civil Cases, the
                  26 NAACP has attached two summary tables detailing the hours worked by attorney
                  27       2
                       Since joining Meta as Lead Counsel in Artificial Intelligence, Ms. Klein was
                  28 replaced in this case by Robert Medina, who has five years of litigation experience.
                     (Washington Decl. ¶ 7; id. Ex. 3.)
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                       1 and by task as Exhibits 6-7 to the Declaration of Laura R. Washington. All of the
                       2 work detailed in these tables is attested to by counsel for the NAACP.
                       3 (Washington Decl. ¶ 10.) These tables show that Latham’s legal team performed a
                       4 total of 214.6 hours of work in this litigation, resulting in discounted fees of
                       5 $180.270.40 and a discounted average hourly rate of approximately $840. The
                       6 hours listed are reasonable in light of the aggressive manner in which this case was
                       7 litigated by both sides. The rates are also consistent with the 2023 Real Rate
                       8 Report, which the Central District has recognized as a “a useful guidepost to
                       9 assess the reasonableness of [] hourly rates in the Central District.” Relman Colfax
                  10 PLLC v. Fair Hous. Council of San Fernando Valley, 2021 WL 1895905, at *4
                  11 (C.D. Cal. Mar. 16, 2021), aff’d, 2022 WL 1616994 (9th Cir. May 23, 2022); see
                  12 also French v. City of Los Angeles, 2022 WL 2189649, at *18 (C.D. Cal. May 10,
                  13 2022) (sua sponte taking judicial notice of the 2021 RRR and finding that the
                  14 requested rate was reasonable).
                  15             While Latham’s rates are slightly above the average hourly rates in the 2023
                  16 Real Rate Report, they are close in line with other attorney’s fees awards granted
                  17 in this District. See, e.g., Netlist Inc. v. Samsung Elecs. Co., Ltd., 341 F.R.D. 650,
                  18 675 (C.D. Cal. Jun. 13, 2022) (approving partner rates of between $1,160 to $1,370
                  19 and associate rates of between $845 to $1,060 per hour); Yuga Labs, Inc. v. Ripps,
                  20 2024 WL 489248, at *3-4 (C.D. Cal. Jan. 11, 2024) (billing rates of $1,135-$1,290
                  21 for partners and counsel and $640-1,030 for associates are reasonable). The Court
                  22 may also consider the Latham’s team “experience, skill, and reputation” in
                  23 awarding Latham’s actual billing rates. See Nguyen v. Regents of Univ. of Cal.,
                  24 2018 WL 6112616, at *3 (C.D. Cal. May 18, 2018).
                  25             This case was first filed in this Court on July 13, 2023. (ECF No. 1.) Over
                  26 the ensuing ten months of litigation (and counting), Plaintiffs launched a vigorous
                  27 (yet frivolous) legal strategy against the NAACP and the eight other Non-profit
                  28 Defendants. The task facing Latham’s counsel in this case was made that much
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                       1 more time-consuming by the frivolous litigation tactics used by Plaintiffs. For
                       2 example, despite each and every one of the Non-profit Defendants meeting and
                       3 conferring with Plaintiffs’ counsel to alert them of the many deficiencies in their
                       4 original and amended complaints, Plaintiffs refused to dismiss any of their causes
                       5 of action against any of the Non-profit Defendants. (Washington Decl. ¶ 2.).
                       6 Plaintiffs’ refusal to meaningfully meet and confer forced Latham to coordinate a
                       7 legal strategy amongst the eight other Non-profit Defendants and forced all to file
                       8 motions to dismiss. Having elected to employ such tactics, Plaintiffs cannot now
                       9 be heard to complain about the time and effort expended by Latham in responding
                  10 to them.
                  11             C.    No diminution of fees is warranted.
                  12             “Once an amount is determined based on the time spent and the reasonable
                  13 hourly compensation for each attorney involved in the action, a court may then
                  14 consider whether augmentation or diminution of the amount is warranted based on
                  15 a number of relevant factors.” Unicom Sys., Inc. v. Farmers Grp., Inc., 2009 WL
                  16 10670614, at *7 (C.D. Cal. June 29, 2009). Those factors include “the nature of
                  17 the litigation, its difficulty, the amount involved, the skill required in its handling,
                  18 the skill employed, the attention given, the success or failure, and other
                  19 circumstances in the case.” PLCM Grp., 22 Cal. 4th at 1096 (quoting Melnyk v.
                  20 Robledo, 64 Cal. App. 3d 618, 623-624 (1976).) The Court may also consider the
                  21 risks involved in litigating a case and the skill deployed in the litigation. See
                  22 Dixon v. City of Oakland, 2014 WL 6951260, at *14 (N.D. Cal. Dec. 8, 2014).
                  23             None of these factors weighs in favor of a diminution of Latham’s fees. For
                  24 the reasons outlined above, obtaining a successful outcome for the NAACP
                  25 required great skill and effort by the NAACP’s attorneys in the face of a vigorous
                  26 (yet frivolous) offense by plaintiffs. On Latham’s part, this was a difficult case to
                  27 defend against, particularly in light of the need to coordinate a cohesive legal and
                  28 public relations strategy among nine Non-profit Defendants, each with their own
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                       1 missions and agendas. This was no easy task. If anything, the challenges
                       2 associated with prevailing in this case counsel in favor of an augmentation of fees
                       3 from the lodestar amount. With Latham’s efforts, Plaintiffs amended complaint
                       4 was dismissed with prejudice and prevented the continuation of this frivolous
                       5 lawsuit. In addition, Latham agreed to represent the NAACP at a discounted rate,
                       6 and only seeks those same discounted rates through this motion. (Washington
                       7 Decl. ¶ 10.)3
                       8 V.     NAACP IS ENTITLED TO RECOVER ITS COSTS.
                       9        The NAACP is entitled to recover its costs as a matter of right under FRCP
                  10 54 and Local Civil Rule 54.5. FRCP 54(d) provides: “Unless a federal statute,
                  11 these rules, or a court order provides otherwise, costs—other than attorney’s fees—
                  12 should be allowed to the prevailing party.” Local Rule 54-1 further explains that
                  13 “[t]he ‘prevailing party’ entitled to costs under Federal Rule of Civil Procedure
                  14 54(d), is the party in whose favor judgment is entered[.]” In this case, judgment
                  15 was entered in favor of the NAACP. Accordingly, Latham is entitled to recover its
                  16 costs as a matter of right.
                  17            The NAACP is entitled to non-taxable costs of $4,219.15 under 42 U.S.C.S.
                  18 § 1988. Mitford , No. 91-35295, No. 91-35932, 1992 U.S. App. LEXIS 30070, at
                  19 *6 (defendant may recover costs under 42 U.S.C.S. § 1988 for an action brought
                  20 under 42 U.S.C. § 1985); see also League of Residential Neighborhood Advocs. v.
                  21 City of Los Angeles, 633 F. Supp. 2d 1119, 1133–34 (C.D. Cal. 2009) (allowing for
                  22 messenger costs pursuant to Section 1988); Prison Legal News v.
                  23 Schwarzenegger, 561 F. Supp. 2d 1095, 1104-05 (N.D. Cal. 2008) (allowing for
                  24 online and Westlaw research costs pursuant to Section 1988). The NAACP’S non-
                  25
                  26   Should the Court be inclined to award attorney’s fees less than Latham’s actual,
                           3
                     already-discounted fees, NAACP respectfully requests that, at minimum, the Court
                  27 award the prevailing rate set by the 2023 Real Rate Report for similarly-sized law
                     firms. (See Ex. 5 (finding average hourly rate of $1,393 for partners and $1,050
                  28 for associates in Commercial Litigation at Los Angeles-based law firms with more
                     than 1,000 lawyers)).
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                       1 taxable costs include legal research costs and Federal Express and messenger costs
                       2 as follows:
                       3
                           Category of Non-Taxable Costs                Amount Claimed
                       4
                           Legal research costs                         $4,109.40
                       5
                           Federal Express and messenger costs          $109.75
                       6
                           Total                                        $4,219.15
                       7
                       8           (Washington Decl. ¶ 11) Accordingly, the NAACP’s total non-taxable costs
                       9 of $4,219.15 should also be awarded.
                  10 VI.           NAACP IS ENTITLED TO ATTORNEY’S FEES AND COSTS
                  11               INCURRED IN DRAFTING THIS MOTION.
                  12               In addition to the attorney’s fees and costs incurred in defeating Plaintiffs’
                  13 frivolous claims against the NAACP, should the NAACP prevail in this motion,
                  14 the NAACP is also entitled to the attorney’s fees and costs it incurred in drafting
                  15 and defending this motion. “In statutory fee cases, federal courts, including our
                  16 own, have uniformly held that time spent in establishing the entitlement to and
                  17 amount of the fee is compensable.” Camacho v. Bridgeport Fin., Inc., 523 F.3d
                  18 973, 981 (9th Cir. 2008); Orange Blossom Ltd. P’ship v. S. Cal. Sunbelt
                  19 Developers, Inc. (In re S. Cal. Sunbelt Developers, Inc.), 608 F.3d 456, 463 (9th
                  20 Cir. 2010) (same). Pursuant to this Court’s Standing Order, the attorney’s fees and
                  21 costs the NAACP incurred in drafting and defending this motion are laid out in two
                  22 summary tables detailing the hours worked by attorney and by task as Exhibits 6-7
                  23 to the Declaration of Laura R. Washington. All of the work detailed in these tables
                  24 is attested to by counsel for the NAACP. (Washington Decl. ¶ 10.) As with the
                  25 NAACP’s other fees, Latham’s fees in drafting and defending this motion are
                  26 discounted by 20% of the firm’s regular billing rates. (Id.)
                  27
                  28
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                       1 VII. CONCLUSION
                       2         For the foregoing reasons, the NAACP respectfully requests that this Court
                       3 grant its Motion for Attorney’s Fees and Costs under 42 U.S.C. § 1988, Federal
                       4 Rule of Civil Procedure 54, and Local Civil Rule 54, and award the NAACP
                       5 (i) $180,270.40 in attorney’s fees; and (ii) $4,219.15 in non-taxable costs, for a
                       6 total of $184,489.55.
                       7 Dated: November 20, 2024                    LATHAM & WATKINS LLP
                       8
                       9
                                                                     By /s/ Laura R. Washington
                  10                                                   Laura R. Washington
                  11
                                                                     Attorneys for Defendant National
                  12                                                 Association for the Advancement of
                  13                                                 Colored People
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                       1                             Certificate of Compliance
                       2        The undersigned, counsel of record for the National Association for the
                       3 Advancement of Colored People (“NAACP”), certifies that this brief contains
                       4 4,633 words, which complies with the word limit of L.R. 11-6.1, and contains 15
                       5 pages, which also complied with the page limit set by Judge Vera’s Standing Order
                       6 (rev. 08/2023).
                       7
                       8 Dated: November 20, 2024                  By /s/ Laura R. Washington
                       9                                              Laura R. Washington

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